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                                                                                                  October 27, 2020
VIA ECF
The Honorable Lorna G. Schofield
United States District Court for the Southern District of New York
40 Foley Square
New York, NY 10007
           Jane Doe, et al. v. Trump Corp., et al., 1:18-cv-9936 (LGS)
Dear Judge Schofield:
       Pursuant to this Court’s June 1, 2020 Order in this action (Doc. No. 282), we write to
provide the Court with an update on the status of the consolidated appellate proceedings in the
United States Court of Appeals for the Second Circuit following this Court’s June 1, 2020 Order,
which, among other things, stayed all deadlines in this action pending further Court order. (Id.)
       As this Court is aware, one business day prior to this Court’s June 1, 2020 Order, the
Second Circuit entered a temporary administrative stay in this action and referred Defendants’
motion for a stay pending appeal “to the next available three-judge motions panel.” (Doe v. Trump
Corp., No. 20-1228, Doc. No. 78 (2d Cir.).) 1
        In connection with further motion practice, on August 3, 2020, a Second Circuit motions
panel granted Plaintiffs’ motion to set an expedited briefing schedule on the merits, denied
Plaintiffs’ motion to lift the administrative stay, granted Defendants’ motion for a stay pending
appeal “only to the extent of granting the stay until the appeal is heard (or submitted in the event
argument is not requested),” and denied Plaintiffs’ motion to deny Defendants’ pending stay
motion as moot. (2d Cir. Doc. No. 139.)
        On October 20, 2020, the Second Circuit issued a Notice of Hearing Date, which provided
that argument on the consolidated appeals would be heard on December 1, 2020 via Zoom.
(2d Cir. Doc. No. 214-1.)
        Consistent with this Court’s June 1, 2020 Order, the parties jointly and respectfully propose
that they provide a further joint status update to the Court no later than seven days after argument
on the merits before the Second Circuit, and that the parties continue to update the Court every
60 days thereafter until the Second Circuit issues a decision on the merits of the consolidated
appeals.




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    Citations to the Second Circuit docket for the lead case, No. 20-1228, take the form “2d Cir. Doc. No. __.”
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                                         Respectfully submitted,


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